Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 1 of l
DISTRICT COURT

U.S.
EASTERN DISTRICT ARKANSAS
AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

  
  

 

 

 

 

chORWAGI CLERK

 

 

 

 

for the
District of Columbia DEP CLERK
United States of America )
v. ) Case: 1:21-mj-00057
Peter Francis Stager ) Assigned to: Judge Zia M. Faruqui
; Assign Date: 1/14/2021
) Description: COMPLAINT W/ARREST WARRANT
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 231(a) Civil Disorder

This criminal complaint is based on these facts:

See attached statement of facts.

A Continued on the attached sheet.
A Complainant's signature

Jason T. Coe, Special Agent
Printed name and title

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

1 i . :
Telephone (specify reliable electronic means). ls 7ia M. Faruqui
Date: 01/14/2021 — 2021.01.14 14:50:26 -05'00'

 

Judge's signature

City and state: Washington, DC DTT Zia M. Faruqui, U.S. Magistrate Judge

Printed name and title
Case 4:21-mj-00012-JTK Document 1 ogied PDL PbodRRde 2 of 7
Assigned to: Judge Zia M. Faruqui
Assign Date: 1/14/2021
Description: COMPLAINT W/ARREST WARRANT

STATEMENT OF FACTS

On January 6, 2021, your affiant, Jason T. Coe, was on duty and performing my official
duties as a Special Agent with the Federal Bureau of Investigation (“FBI’’). Specifically, I am
assigned to the Washington Field Office, tasked with investigating criminal activity in and around
the Capitol grounds. As a Special Agent with the Federal Bureau of Investigation, I am authorized
by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of a violation of Federal criminal laws.

The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capito! building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, between 1
p.m. and 2 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

Shortly thereafter, members of the United States House of Representatives and United
States Senate, including the President of the Senate, Vice President Mike Pence, were instructed
to—and did—evacuate the chambers. Accordingly, the joint session of the United States Congress

was effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the
United States Capito] from the time he was evacuated from the Senate Chamber until the sessions
resumed.

During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 3 of 7

violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

On January 6, 2020, during the above-referenced events, Officer B.M. (“B.M.”) of the
Washington D.C. Metropolitan Police Department (“MPD”) was working his! evening shift in his
official capacity. During that shift, B.M. was directed to report to the U.S. Capitol building to assist
the U.S. Capitol Police in their duties to maintain security of the U.S. Capitol building.

Between 4:00PM and 5:00PM that same day, B.M. walked through an interior tunnel of
the U.S. Capito! building and assumed a post in an archway which provided access to the building’s
exterior. The approximate location of B.M. was noted by B.M. and is denoted below by the blue
markings.

 

From this archway, alongside other uniformed law enforcement officers, B.M. observed
hundreds of individuals gathered outside. Some of these individuals were throwing and swinging
various objects at the group of law enforcement officers. While standing in the archway to prevent
the group of individuals from breaching the U.S. Capitol building, and while wearing his official
MPD uniform, some of these individuals grabbed B.M. and dragged him down the stairs of the
Capitol building. These individuals forced B.M. into a prone position on the stairs and proceeded
to forcibly and repeatedly strike B.M. in the head and body with various objects.

On January 12, 2021, the FBI received a tip via electronic submission from a confidential
source of information (“CS1”), identifying one of the individuals who assaulted B.M. on the

 

' Unless otherwise stated, for the safety of victims and witnesses, victims and confidential sources of
information are referred to using male pronouns (regardless of gender) and conversations about victims
and confidential sources of information have been altered as necessary to reflect male pronouns.

 
Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 4 of 7

stairs of the U.S. Capitol building as PETER FRANCIS STAGER (“STAGER”). FBI Special
Agents interviewed CS1, who stated he recognized STAGER from two videos posted on a
Twitter thread”. The first video (“video 1”) depicted STAGER amongst a large group of
individuals on the stairs of the U.S. Capitol building. STAGER climbed the stairs while holding
a flagpole with a United States flag affixed to it and used the pole to repeatedly strike B.M. while
B.M. remained prone on the steps of the U.S. Capitol building.

(Video I a.)

 

(Video I c.) (Video I d.)

 

* The thread referred to by CS1 is located at URL:
https://twitter.com/Cleavon_MD/status/13487637994 70235655
Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 5 of 7

In the second video (“Video 2”), CS1 identified the male speaking as STAGER, who stated,
“Everybody in there is a treasonous traitor. Death is the only remedy for what’s in that building.”
Your affiant believes that in STAGER’s statement, “that building” was a reference to the U.S.
Capitol building, and “everybody in there” was a reference to the Congressmen and
Congresswomen inside the U.S. Capito] building at the time.

 

(Video 2)

CSI told Agents that following viewing the above-referenced videos, CS] contacted a
mutual acquaintance of both STAGER and himself (“CS2”). CS2 told CS1 that CS2 had already
spoken directly with STAGER following the events on January 6, 2021. CS2 also told CS1 that
STAGER identified himself as the individual in both video | and video 2.

Agents then interviewed CS2, a close associate of STAGER. CS2 also recognized
STAGER as the individual in video | striking B.M. with a flagpole, and as the individual in video
2 who was “ranting.” CS2 spoke directly with STAGER via telephone following the events on
January 6, 2021. During that phone conversation, STAGER confirmed that he [STAGER] was the
individual in both video | and video 2.

Referring to video 1, STAGER told CS2 that he [STAGER] did not know the man he was
striking on the ground with the flagpole was a cop and that he thought the person he was striking
was ANTIFA. On the Twitter thread provided by CS1, there was a photo (“photo 1”) of B.M. lying
prone on the steps of the U.S. Capitol building while surrounded by the large group of individuals.
Clearly present on B.M.’s uniform, across his back, are the words “METROPOLITAN POLICE.”
Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 6 of 7

Also visible in the photo is STAGER, holding a flagpole, with an American flag attached, with
what appears to be a clear view of B.M. in uniform, lying on the stairs. Therefore, your affiant
believes that STAGER was able to clearly see the police markings on B.M.’s uniform and was
aware that the individual who he was striking was, in fact, law enforcement. After reviewing the
aforementioned video footage, your affiant believes that photo 1 was captured immediately prior
to STAGER striking B.M.

 

 

(Photo 1)

CS2 told Agents that STAGER told him that he [STAGER] had to apologize to CS2 and
to his [STAGER’s] children for his behavior. Additionally, STAGER told CS2 that he intended to
turn himself in to law enforcement for his actions, but had yet to do so.

Referencing video 2, STAGER told CS2 that he [STAGER] was “wired up” from being
either pepper-sprayed or tear-gassed and that was why he made the comments he did on camera.
Your affiant believes that STAGER could have been tear-gassed by law enforcement officers while
attempting to breach the U.S. Capitol building.

Law enforcement identified STAGER utilizing the above information provided by CSI
and CS2. A query of the Arkansas Department of Motor Vehicles (DMV), of the Arkansas

Department of Finance and Administration, yielded a Driver License photo of STAGER which
was compared to that of the individual in both video | and video 2. Your affiant believes that they
are of the same individual.

Based on the foregoing, your affiant submits that there is probable cause to believe that
STAGER violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit
Case 4:21-mj-00012-JTK Document 1 Filed 01/15/21 Page 7 of 7

any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

Respectfully Submitted,

few.

SPECIAL AGENT JASON T. COE
FEDERAL BUREAU OF
INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 14" day of January 2021.
-#2021.01.14
Nee
ES » 14:28:18 -05'00'

ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE

 
